Pause

rtf

 

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA HAR -9 ANT: 19

IN RE: Kenneth Edward Graham Case No. 18}{2710
Debtor(s) Ch. 13 us

 
 

CHAPTER 13 PLAN
Date: March 7, 2016

YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully and discuss
them with your attorney. Anyone who wishes to oppose any provisions of this plan or any motion
included below must file a timely written objection. This plan may be confirmed and the motions
included below may be granted without further notice or hearing unless written objection is filed
before the deadline stated on the separate Notice you should have received from the bankruptcy
court. If you have a secuted claim, this is notice that your lien may be voided or modified if you do
not object to this plan.

THIS PLAN DOES NOT ALLOW CLAIMS. You must timely file a proof of claim to be paid
under any plan that may be confirmed.

1. PAYMENT AND LENGTH OF PLAN
(a) Debtors will pay $839.38 per month for 60 months to trustee:
(b) Other payments to trustee: Income Tax Refunds during the term of the plan in excess of
$1000 per year.
(c) Total amount to be paid to Trustee shall be not less than $50,362.55.

2. ALLOWED CLAIMS AGAINST THE DEBTOR SHALL BE PAID IN ACCORDANCE
WITH THE PROVISIONS OF THE BANKRUPTCY CODE AND THIS PLAN.

(a) Secured creditors shall retain their mortgage, lien, or security interest in collateral until the
earlier of (a) the payment of the underlying debt determined under non-bankruptcy law, or
(b) discharge under 11 U.S.C. § 1328.

(b) Creditors who have co-signers, co-makers, or guarantors from whom they ate enjoined from
collection under 11 U.S.C. § 1301, and which are separately classified and shall file their
claims, including all the contractual interest which is due or will become due during the
consummation of the Plan, and the amount specified in the proof of claim to the creditor
shall constitute full payment of the debt as to the Debtor and Co-Obligot.

(c) All Priority Creditors under 11 U.S.C. § 507 shall be paid in full in deferred cash payments.

3. FROM THE PAYMENTS RECEIVED UNDER THIS PLAN, THE TRUSTEE
SHALL MAKE DISBURSEMENTS AS FOLLOWS:

(a) ADMINISTRATIVE EXPENSES
a. ‘Trustees Fee: 7.1% as provided in the Schedule of Actual Administrative Expenses
of Administering a Ch. 13 Plan as required by 11 U.S.C. § 707(b)(2)(A)@i) (I) dated
effective as of 1/08. (Copy Included with Plan)
b. Attorneys Fee (unpaid portion): None
c. Filing Fee (unpaid portion): None

Chapter 13 Plan
Page 1 of 3
(b) SECURED CLAIMS INCLUDING ADMINISTRATIVE EXPENSES &

SUPPORT)

All allowed priority claims will be paid in full unless creditor agrees otherwise:

 

 

 

we Scheduled | Monthly | Beginning in | Number of .
Creditor: Amount: | Payment: | Month #: Payments: TOTAL:
Citi Mortgage $464.50 $464.50 4/2016 60 $27,870.00
Citi Mortgage $170.33 $170.33 4/2016 60 $10,219.80
Professional Federal C.U. $101.67 $101.67 4/2016 60 $6100.00

 

 

 

 

 

 

(c) UNSECURED CLAIMS (INCLUDING ADMINISTRATIVE EXPENSES &

SUPPORT)

All allowed non-priority claims will be paid in full unless creditor agrees otherwise:

 

 

 

wo Scheduled | Monthly | Beginning in | Number of .
Creditor: Amount: | Payment: | Month #: Payments: TOTAL:
Professional Federal C.U. $47.97 $47.97 4/2016 60 $2878.00

 

 

 

 

 

 

(d) Domestic Support Obligations: NONE
(e) Other Priority Claims: NONE

4. SECURED DEBTS WHICH WILL EXTEND BEYOND THE LENGTH OF THE

PLAN:
Name Amount of Claim
Citi Mortgage $34,828

5. THE DEBTOR PROPOSES TO CURE DEFAULTS TO THE FOLLOWING

Monthly Payment

$464.50

Interest Rate

7.125%

CREDITORS BY MEANS OF MONTHLY PAYMENTS BY THE TRUSTEE:

Name

Citi Mortgage
Professional Federal C.U.
Professional Federal C.U.

Amount of Default to Be Cured

$10,219.80

$6100.00
$2878.00

Interest Rate

0%
0%
0%

6. THE CREDITOR WILL MAKE PAYMENT DIRECTLY TO THE FOLLOWING

CREDITORS: NONE

7. THE EMPLOYER FOR WHOM THE COURT WILL REQUEST PAYMENTS TO BE

WITHHELD FROM EARNINGS IS:

NONE. Payments will be made directly by the DEBTOR without wage deduction. The
Debtor is starting a new job with a 90 day probationary period and requests a court order
stating no contact with the employer during this 90 day period which will extend through
June 2016. If payments are made on time, DEBTOR requests to continue making payments
directly without being withheld from earnings. Employment & Income verification will be
provided at the hearing on March 15, 2016. This is a reasonable request as each creditor

listed above has violated either the FDCRA-Citi Mortgage or the Automatic Stay-

Professional Federal C.U.

Chapter 13 Plan
Page 2 of 3

 

 
8. THE FOLLOWING LIENS WILL BE AVOIDED PURSUANT TO 11 U.S.C. § 522(f),
OR OTHER APPLICABLE SECIONS OF THE BANKRUPTCY CODE:

Name Amount ofClaim Description
Professional Federal $2878.00 5031 CHARLOTTE, LOT 20 DUVALLS
Credit Union CIRCUMURBAN CT. ALLEN

COUNTY INDIANA, ACCORDING TO
THE RECORDED PLAT THEREOF
(RESIDENCE)

9. TITLE TO THE DEBTOR’S PROPERTY SHALL REVEST IN DEBTOR UPON
CONFIRMATION OF THE CH.13 PLAN.

10. AS USED HEREIN, THE TERM “DEBTOR” SHALL INCLUDE BOTH DEBTORS
IN A JOINT CASE.

11. Other Provisions:

   

Date: March 9, 2016 Signature: 4. Mente a
Kenneth Edward Graham
Debtor

  

Chapter 13 Plan
Page 3 of 3
Schedule of Actual Administrative Expenses

of Administering a Chapter 13 Plan
(As required by 11 U.S.C. § 707(b)(2)(A)Gi)())

Effective as of 1/08

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

JUDICIAL DISTRICT MULTIPLIER

Alaska 10.0%
Arizona 7.3%
Eastern Arkansas 5.0%
Western Arkansas 5.0%
Central California 10.0%
Eastern California 8.5%
Northern California 10.0%
Southern California 8.7%
Colorado 6.0%
Connecticut 7.9%
Delaware 5.7%
District of Columbia 10.0%
Middle Florida 7.5%
Northern Florida 9.2%
Southern Florida 74%
Middle Georgia 4.6%
Northern Georgia 4.8%
Southern Georgia 8.3%
Guam 8.1%
Hawaii 8.1%
Idaho 10.0%
Central Illinois 10.0%
Northern Illinois 6.3%
Southern Illinois 4.9%
Northern Indiana 7.1%
Southern Indiana 5.9%
Northern Iowa 10.0%
Southern Jowa 6.4%

 

 
Page 1

 

Statement Date: 11/27/15

Account Number: 0212548022-4 How to reach us
Payment Date: 12/01/15 www.citimortgage.com

. Bankruptcy Service Center: 1-866-613-5636*
Payment Amount: $464.50 Please reference your account number 0212548022 when calling.

*Calls are randomly monitored and recorded to ensure quality service.

Your dedicated Single Point of Contact is ALESHA DALTON 855-843-2549, Ext 0475299.*

 

Explanation of Payment Amount Account Information
° Principal $129.55 KENNETH E GRAHAM
” Interest $224.15 BOUNLY G GRAHAM
Escrow $110.80 Property Address: 5031 CHARLOTTE AVE
Total Payment Amount $464.50 FORT WAYNE, IN 46815
3 Type of Mortgage FIXED RATE LOAN
a Outstanding Principal Balance $39,956.63
“ Interest Rate 7.12500%
Escrow Balance -$291.04
CitiMortgage Taxes Paid Year to Date $608.63
o
oa
ru
8 Transaction Activity Since Last Statement (07/25/15 to 11/27/15)
Date Description Charges/Adjustments Payments
10/06/15 Escrow Disbursement - County Tax -$196.54

Important Messages

As a convenience for accounts serviced in our Bankruptcy Department, the amount listed above represents only the payment amount for the following month. There may be other
payment amounts or charges that are not listed above. Those amounts may be included in your Chapter 13 Plan, if applicable.

60000816

If you do not wish to receive future informational notices please contact the Bankruptcy Service Center.
CITIMORTGAGE RESERVES THE RIGHT TO SUPPRESS ACCESS TO THE MORTGAGE WEBSITE.
Your monthly escrow payment has been adjusted to $110.80 effective 12/01/15.

TO THE EXTENT YOUR ORIGINAL OBLIGATION WAS DISCHARGED, OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY UNDER TITLE 14 OF THE UNITED STATES
CODE, THIS STATEMENT IS FOR COMPLIANCE AND/OR INFORMATIONAL PURPOSES ONLY AND DOES NOT CONSTITUTE AN ATTEMPT TO COLLECT A DEBT OR TO

IMPOSE PERSONAL LIABILITY FOR SUCH OBLIGATION.

EOLR402W 1076 5078 CFM064 07 151139
PAGE 00001 OF 00002

Important messages continued on the next page
To ensure timely processing, please enclose your check and the coupon below in the envelope provided.

Account Number: 0212548022-4 Total Amount by 12/01/15: $464.50
Cl t | Please designate how you want us to apply any Additional $
0. Box 6243 additional funds. Undesignated additional funds Principal: -
ei . Fa lls, SD 57117-6243 are applied in the following order: 1) late charges Additional $
foux Fans, and/or fees, 2) principal. Once paid, additional Escrow: =
funds cannot be returned. Additional Late
Mortgage Statement Do not include cash or account inquiries with Charges: $ =
your payment. : « Additional Monthly
Please see reverse side for mailing address and Payment: $ 2
phone number changes. Total Amount
Enclosed $ in
oo000422 1 40501276 DIF o0000422 Include account number on check. Make payable to CitiMortgage, |
Peennee DL Lp dd apg tag bea dg ffbepedp lye [lpbefad playpen
| KENNETH E GRAHAM CITIMORTGAGE, INC.
3 & BOUNLY G GRAHAM PO BOX 9001067
8 8 POBOX 5281 LOUISVILLE KY 40290-1067
° FORT WAYNE IN 46895-5281 Pep Le Pp dpe ELE Rfpeg peep lp fee pple tp thay fall]

(te 17500 OO4B450 OO4R4SO OO4b4S0 OOO00002125480224 0007
